                           UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )        NO. 2:08-CR-102(9)
                                                    )
JAVIER FLORES-DELACRUZ                              )

                                           ORDER

               This criminal matter is before the Court to consider the Report and

Recommendation of the United States Magistrate Judge dated December 9, 2009. [Doc. 757].

The Magistrate Judge recommends that the defendant’s motion to suppress all evidence seized

during a traffic stop on December 4, 2007, be denied. The defendant has filed an objection to

this report. [Doc. 817].

               After careful de novo consideration of the Report and Recommendation of the

United States Magistrate Judge, the defendant’s objection to that Report and Recommendation,

the defendant’s motion to suppress and amended motion to suppress, the response of the

government, the transcript of the hearing held on December 9, 2009, and for the reasons set out

in the Report and Recommendation, which are incorporated by reference herein, it is hereby

ORDERED that this Report and Recommendation is ADOPTED and APPROVED, and that

the defendant's motions to suppress are DENIED.

[Docs. 544 and 700].

               ENTER:


                                                             s/J. RONNIE GREER
                                                        UNITED STATES DISTRICT JUDGE




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